Case 2:05-cv-04182-SRD-JCW Docu

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HELEN CUMBO
OCT 03 2006

| ADMINISTRATOR
MMERCIAL DIVISION

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AO 389 (Rev, 10/95) { EASTER
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WAIVER OF SERVICE Ge samMONS

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yon Se

TO: Joseph M. Bruno, 855 Baronne street; .grleans, LA

(NAME OF PLAINFIFF'S ATTORNEY OR UN RESEN "

i me ee ST

ee

1 St. Paul Ins Co
(DEFENDANT NAME)

_ acknowledge receipt of your request -

that | waive service of summons in the action of CTeato Gordon, et al v. USA, et al

(CAPTION OF ACTIGN)
which is case number 06-5163 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost fo me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after q 2 s/ oO

(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
1\0- 3- O6 pm Othe Corbe?
DATE SIGNATURE
Printed/Typed Name:
As of st. Paul Ins Co
(TITLE) (CORPORATE DEFENDANT}

Duty to Avoid Unnecessary Coste of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperat in saving y costs of service of Ine summons and
complaint. A defendant located In the United States who, after being notified of an action and asked by & plaintiff located in the United Statas to waive
service of a summons, fails to do 30 will be required te bear te cost of such service unlesa good cause be shown for its Failure to sign and return the

Wer.
waver (tis not good cause for a failure to waive service that 4 parly believes that the complaint is unfounded, or that the action has been brauight in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person of property A party waives service of the summons
retaing all defenses and objections {except any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the
court or te the place where the action has been brought.

A defendant who waives servica must within the time specified an the waiver form serve on the plaintiffs attomey {or unrepresented plainti a
rasponse to the complaint and must also file a signed copy of the response with he court. #f ihe answer or motion is not served within this tims, a defauil

judgment may be taken against that defendant. By waiving service, 4 defendant is allowed more time to answer than if tha summons had been actually
served when the request for waiver of service was received.

Fee .
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we. Dktd
__.. CtRmDep
_~— Doc. No

Case 2: 05- -cv-04182-SRD-JCW Document 1 1494 Filed 10/20/06 Page 2 of 5. net ne te

40 399 (Rev. 10495)

I SewerageséWater Bd _ acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Create Gordon, et al v. USA, et al |

(CAPTION OF ACTION}
which is case number 06-5163 K. in the United States District Court
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jo |b/e7

DATE # S{GNATURE Ss ia
Printed/Typed name? oon “6? fe. mao
/f-r- Te Ong of SeweragesWater Bd
(TITLE) JS (CORPORATE DEFENDANT)

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complainL A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, falls to de sa will ba required to bear the cost of such service unless good cause be shown for its failure to sign and ratum the

2" 6 is not good cause for a failure to waive eervice that a party believes that the complaint is unfounded, or that the action has been brought in an
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response to the complaint and must also file a signed copy of ihe rasponse with ihe court. if ihe answer or motion is not served within this time, a default
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— CtRmDep
_~. Doc. No

Case 2:05-cv-04182-SRD-JCW D cumenf 1434, aie 40/2 jos P go! of 8 cuUG
WAIVER OF SERVICE/OF sim Wo ~-°- ADMINISTRATOR

| COMMERCIAL DIVISION
To: Joseph M. Bruno, 855 naronne| street men Tate HE 704 3

(NAME OF PLAINTIFF'S ve oe ———

I St. Paul Ins Co
(DEFENDANT NAME}

, acknowledge receipt of your request

that | waive service of summons in the action of Create Gordon, et al v. USA, et al
(CAPTION GF ACTION)

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| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

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(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
0-30 our fhe Chembe
DATE SIGNATURE
Printed/Typed Name:
As of St. Paul Ins Co
(TITLE) {CORPORATE DEFENDANT)

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Rule 4 of the Federal Rutes of Civil Procedura requires certain partias to cooperate in saving unnecessary costs of service of ihe summons and
complaint. A defendant located in the United States who, after baing notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do so will be required to bear the cost of such service unlass good cause be shown for its failure to sign and retum the
wawer. It is not good cause for a failure to waive service ihat a party believes that the complaint is unfounded, or that tha action has been brought in an
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caurt or to the place where the action has been brought.

A defendant who waives service must within tha tima specified on tha waiver form serve on the plaintiff's attorney (or unrepresented plaintiff} a
response to the complaint and must alsa fila a signed copy of the response with the court. tf the answer or motion is not served within this time, a defaull

judgment may be taken against that defendant. By waiving service, a defendant is allowed more time ta anewer than if the summons had ben actually
served when the request for waiver of service was received.

___. CtRmDep__—.
___ Doc. No____._—-.
Case 2:05-cv-04182-SRD-JCW Document 1434 Filed 10/20/06 Page 4of5

AQ 399 (Rev, 10/95)

ICT COURT
g, DISTRICT COUF
opevean DISTRICT OF LOUISIANA

WAIVER OF SERVICE OF SUMMON ong

ON

To: Joseph M. Bruno, 855 Baronne Street, New Orldans, E
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED @LAINTIFF} tORETIAG. WRT
CLERK

| Modjeski & Masters

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{DEFENDANT NAME}

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(TITLE) (CORPORATE DEFENDANT)

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Itis nol good cause for a fallure to waive service that 4 party baliaves thal the complaint is unfounded, or that the action has been brought in an
Imprapar place or ina court that lacks jurisdiction over the subject matter of ihe action or over Its person or property A party waives service of ihe summons
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AO 396 (Rev. 10/95} U.S, DISTRICT COUR
ASTERN DISTRICT OF LOUISIZ

WAIVER OF SERVICE OF SUMMONS HHLED

OCT 2.0 apes

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 79113

(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF} wheel IAG. WHYTE
CLERK
i TL James & Co Inc , acknowledge receipt of your request
(DEFENDANT NAME}

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(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

Oct. 2, 2006 Mad [- hh,

DATE v / SIGNATURE

Printed/Typed Name:__Richard G. Brantléy

As President and CEO of 2b James _& Co Inc
(TITLE) ' (CORPORATE DEFENDANT}

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Fee
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—~ CtRmDep
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